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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA
SEALED SUPERSEDING
~¥. = : INFORMATION
ZIXIAO (GARY) WANG, : Sl 22 Cr. 672 (RA)
Defendant. :
Se eee Sets # SSS Se = = x
COUNT ONE

(Conspiracy to Commit Wire Fraud on Customers)

The United States Attorney charges:

Ls From at least in or about 2019, up to and including in
or about November 2022, in the Southern District of New York, and
elsewhere, ZIXIAO (GARY) WANG, the defendant, and others known and
unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit wire
fraud, in violation of Title 18, United States Code, Section 1343.

2. It was a part and object of the conspiracy that ZIXIAO
(GARY) WANG, the defendant, and others known and unknown, inerelnatly
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises, would and
did transmit and cause to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose of
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executing such scheme and artifice, in violation of Title 18,

United States Code, Section 1343, to wit, WANG agreed with others

to defraud customers of FTX.com by misappropriating customers’

deposits and lending customers’ deposits to Alameda Research.
(Title 18, United States Code, Section 1349.)

COUNT TWO
(Wire Fraud on Customexs)

The United States Attorney further charges:

Six From at least in or about 2019, up to and including in
or about November 2022, in the Southern District of New York and
elsewhere, ZIXIAO (GARY) WANG, the defendant, knowingly having
devised and intending to devise a scheme and artifice to defraud,
and for obtaining money and property by means of false and
fraudulent pretenses, representations and promises, transmitted
and caused to be transmitted by means of wire, radio, and
television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, WANG, along with
others, engaged in a scheme to defraud customers of FTX.com by
misappropriating customers’ deposits and lending customers’
deposits to Alameda Research.

(Title 18, United States Code, Sections 1343 and 2.)
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COUNT THREE
(Conspiracy to Commit Commodities Fraud)

The United States Attorney further charges:

4. From at least in or about 2019, up to and including in
or about November 2022, in the Southern District of New York, and
elsewhere, ZIXIAO (GARY) WANG, the defendant, and others known and
unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit an
offense against the United States, to wit, commodities fraud, in
violation of Title 7, United States Code, Sections 9(1) and
13ta) (5), and Title 17, Code of Federal Regulations, Section 180.1.

5. It was a part and an object of the conspiracy that ZIXIAO
(GARY) WANG, the defendant, and others known and unknown, willfully
and knowingly, would and did, directly and indirectly, use and
employ, and attempt to use and employ, in connection with a swap,
a contract of sale of a commodity in interstate commerce, and for
future delivery on and subject to the rules of a registered entity,
a manipulative and deceptive device and contrivance, in
contravention of Title 17, Code of Federal Regulations, Section
180.1, by: (a) using and employing, and attempting to use and
employ, a manipulative device, scheme, and artifice to defraud;
(b) making, and attempting to make, an untrue and misleading
statement of a material fact and omitting to state a material fact

necessary in order to make the statements made not untrue and
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misleading; and (c) engaging, and attempting to engage in an act,
practice, and course of business, which operated and would operate
as a fraud and deceit upon a person, in violation of Title 7,
United States Code, Sections 9(1) and 13(a) (5), to wit, WANG agreed
with others to defraud customers of FTX.com trading or intending
to trade swaps by misappropriating customers’ deposits and lending
customers’ deposits to Alameda Research.

6. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt act, among others, was
committed in the Southern District of New York and elsewhere: in
or about August 2019, ZIXIAO (GARY) WANG, the defendant, and others
implemented changes to the code of FTX.com to permit Alameda
Research to incur a negative balance on FTX.com.

(Title 18, United States Code, Section 371.)

COUNT FOUR
(Conspiracy to Commit Securities Fraud)

The United States Attorney further charges:

7. From at least in or about 2019, up to and including in
or about November 2022, in the Southern District of New York, and
elsewhere, ZIXIAO (GARY) WANG, the defendant, and others known and
unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit an
offense against the United States, to wit, securities fraud in

violation of Title 15, United States Code, Sections 78j(b) and
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78ff, and Title 17, Code of Federal Regulations, Section 240.10b-
5.

8. It was a part and an object of the conspiracy that ZIXIAO
(GARY) WANG, the defendant, and others known and unknown, willfully
and knowingly would and did, directly and indirectly, by use of a
means and instrumentality of interstate commerce and at the mails,
and of a facility of a national securities exchange, use and
employ, in connection with the purchase and sale of a security
registered on a national securities exchange and any security not
so registered, a manipulative and deceptive device and
contrivance, in violation of Title 17, Code of Federal Regulations,
Section 240.10b-5, by: (a) employing a device, scheme, and artifice
to defraud; (b) making an untrue statement of material fact and
omitting to state a material fact necessary in order to make the
statements made, in the light of the circumstances under which
they were made, not misleading; and (c) engaging in an act,
practice, and course of business which operated and would operate
as a fraud and deceit upon a person, in violation of Title 15,
United States Code, Sections 78j(b) and 78ff, to wit, WANG agreed
with others to engage in a scheme to defraud investors in FTX.com
by providing false and misleading information to investors
regarding FTX.com’s financial condition.

9. In furtherance of the conspiracy and to effect the

illegal object thereof, the following overt act, among others, was
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committed in the Southern District of New York and elsewhere: in
or around early 2021, after ZIXIAO (GARY) WANG, the defendant,
changed the code of FTX.com to give special treatment to Alameda
Research, a coconspirator made telephone calls to one or more
investors that contained materially false information about the
treatment of Alameda Research on FTX.com.

(Title 18, United States Code, Section 371.)

FORFEITURE ALLEGATIONS

 

10. As a result of committing the offenses alleged in Counts
One and Two of this Information, ZIXIAO (GARY) WANG, the defendant,
shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 981(a)(1)(C) and Title 28 United States Code,
Section 2461(c), any and all property, real and personal, that
constitutes or is derived from proceeds traceable to the commission
of said offenses, including but not limited to a sum of money in
United States currency representing the amount of proceeds
traceable to the commission of said offenses.

11. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant: (a) cannot be
located upon the exercise of due diligence; (bob) has been:
transferred or sold to, or deposited with, a third person; (c) has
been placed beyond the jurisdiction of the Court; (d) has been
substantially diminished in value; or (e) has been commingled with

other property which cannot be subdivided without difficulty; it
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is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p) and Title 28, United States Code,

Section 2461(c), to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.
(Title 18, United States Code, Section 982;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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DAMIAN WILLIAMS
United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
= %, «=
ZIXIAO (GARY) WANG,

Defendant.

 

SEALED SUPERSEDING INFORMATION
S1 22 Cr. 673 (RA)

(Title 7, United States Code, Sections
9(1) and 13(a) (5); Title 17, Code of
Federal Regulations, Section 180.1; Title
15, United States Code, Sections 78j(b) and
78ff£; Title 17, Code of Federal
Regulations, Section 240.10b-5; Title 18,
United States Code, Sections 371, 1343,
1349, and 2.)

DAMIAN WILLIAMS
United States Attorney

 

 
